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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 AMERICAN CIVIL LIBERTIES UNION,

                Plaintiff,

        v.
                                                          Civil Action No. 20-3204 (RDM)
 DEPARTMENT OF HOMELAND
 SECURITY, et al.,

                Defendants.


                             MEMORANDUM OPINION AND ORDER

       This Freedom of Information Act (“FOIA”) case is before the Court on cross-motions for

partial summary judgment. Dkt. 40; Dkt. 41. At issue is whether the Department of Homeland

Security (“DHS”) must search for responsive records maintained by the DHS Office of the

Inspector General (“OIG”). On May 22, 2020, Plaintiff American Civil Liberties Union

(“ACLU”) submitted its FOIA request to DHS’s Privacy Office seeking records “in the custody

or control of ICE [U.S. Immigration and Customs Enforcement] and DHS” relating to “the

Trump Administration’s response to the risk of COVID-19 in immigration detention facilities.”

Dkt. 40-5 at 2, 5 (Pl.’s Ex. 1). The ACLU maintains that it properly submitted its request to the

Privacy Office, which is authorized to accept FOIA requests on behalf of other DHS

components, including OIG; that it was evident at the time the request was submitted that OIG

had responsive records; that this fact became crystal clear before DHS began its search; and that

the records that DHS has located to date confirm that OIG has responsive records. See generally

Dkt. 40-2.
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       DHS disagrees. It argues that, if the ACLU wanted DHS to search files maintained by

OIG, it should have submitted a FOIA request to OIG; that the Privacy Office was required only

to forward the ACLU’s request to the DHS “component(s) that [the Privacy Office] determine[d]

to be most likely to maintain the records that [we]re sought,” 6 C.F.R. § 5.3(a)(2); that the

Privacy Office satisfied this mandate when it forwarded the ACLU’s request to ICE; and that the

Privacy Office was not on reasonable notice that OIG is likely to have responsive records in its

files. See generally Dkt. 41-1.

       For the reasons explained below, the Court concludes that the ACLU has the better of the

arguments. The Court will, accordingly, grant the ACLU’s motion for partial summary

judgment, Dkt. 40, will deny DHS’s cross-motion for partial summary judgment, Dkt. 41, and

will direct that DHS include OIG in its search for responsive records.

                                       I. BACKGROUND

       On May 22, 2020, the ACLU submitted identical FOIA requests to ICE and DHS’s

Privacy Office, seeking “records pertaining to the Trump Administration’s response to the risk of

COVID-19 in immigration detention facilities.” Dkt. 40-5 at 2 (Pl.’s Ex. 1); see also Dkt. 40-1 at

1 (Plaintiff’s Statement of Undisputed Material Fact (“Pl.’s SUMF”) ¶ 1).1 Among other things,



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  Under Local Civil Rule 7(h)(1), “[a]n opposition to . . . a motion [for summary judgment] shall
be accompanied by a separate concise statement of genuine issues setting forth all material facts
as to which it is contended there exists a genuine issue necessary to be litigated, which shall
include references to the parts of the record relied on to support the statement.” If the opposing
party fails to comply with this requirement, “the Court may assume that facts identified by the
moving party in its statement of material facts are admitted.” Id.; see also Dkt. 9 at 5 (Standing
Order in Civil Cases) (“The party responding to a statement of material facts must respond to
each paragraph with a correspondingly numbered paragraph, indicating whether that paragraph is
admitted or denied.”). Because DHS failed to respond to the ACLU’s statement of material
facts, see Dkt. 43 at 6 n.1; see also Dkt. 46 at 5 n.1, the Court will assume that the facts
identified in the ACLU’s statement of material facts are conceded for purposes of the ACLU’s
motion.

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those requests sought “[a]ll communications and documents regarding COVID-19-related

grievances or complaints, including, but not limited to, those discussing access to hygiene,

protective equipment, social distancing or lack thereof, or other risks of exposure to COVID-19

within immigration detention facilities . . . .” Dkt. 40-5 at 6 (Pl.’s Ex. 1). A few days later, DHS

acknowledged receipt of the FOIA requests and explained that “[t]he Privacy Office will be

coordinating a search with ICE and will respond to your request on behalf of DHS and its

components.” Dkt 40-6 at 2–4 (Pl.’s Ex. 2). At the same time, DHS granted the ACLU’s

request for expedited treatment. Id. According to DHS, the Privacy Office determined that ICE

was the DHS component most likely to have responsive records, and it thus forwarded the

request to the ICE FOIA office. Dkt. 41-3 at 1–2 (Defendants’ Statement of Undisputed

Material Fact (“Defs.’ SUMF”) ¶ 2). On June 2, ICE acknowledged receipt of the FOIA request

that the ACLU had directly submitted to it, and it confirmed that the ICE “response . . . w[ould]

be coordinated by the DHS Privacy Office.” Dkt. 40-7 at 2 (Pl.’s Ex. 3).

       On June 10, 2020, the Privacy Office emailed the ACLU asking it to “narrow the part of

the request where you seek ‘communications,’” by either “identify[ing] specific record

custodians” or “specific detention facilities, names of record custodians[,] or position titles.”

Dkt. 40-8 at 2 (Pl’s Ex. 4). Two days later, the ACLU “agree[d] to narrow [its] request and

specif[ied]” a number of detention facilities “subject to the search.” Dkt. 40-9 at 2 (Pl.’s Ex. 5).

The Privacy Office, in turn, conveyed that supplemental information to ICE. Dkt. 41-3 at 2

(Defs.’ SUMF ¶ 4).

       On June 18, 2020, OIG released a report entitled Early Experiences with COVID-19 at

ICE Detention Facilities. Dkt. 40-12 at 2 (Pl.’s Ex. 8). In the report, OIG explained that it had

surveyed 188 detention facilities “from April 8 to 20, 2020, regarding their experiences and



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challenges managing COVID-19 among detainees in their custody and among their staff.” Id. at

4. The report included information on the spread of COVID-19 in ICE detention facilities,

measures facilities were taking to prevent the spread of COVID-19, staffing plans, and more.

See, e.g., id. at 8–10; Dkt. 40-1 at 3 (Pl.’s SUMF ¶ 7). According to the report, “facilities

reported concerns with their inability to practice social distancing among detainees[] and to

isolate or quarantine individuals who may be infected with COVID-19” and “with the

availability of staff [and] protective equipment for staff, if there were an outbreak of COVID-19

at the facility.” Dkt. 40-12 at 10 (Pl.’s Ex. 8).

        Approximately five months after it sent its FOIA request, the ACLU filed this suit,

alleging that DHS had failed to release any of the requested records. See Dkt. 1 at 7–8 (Compl.

¶¶ 14–15). In its complaint, the ACLU alleged that DHS “hold[s] thousands of immigrants in

detention facilities across the United States” and that “the people living and working in those

facilities are acutely vulnerable to the coronavirus, for multiple reasons.” Id. at 2 (Compl. ¶ 3).

To make this point, the ACLU cited, among things, two OIG reports pre-dating the pandemic

concerning overcrowding and sanitation in detention facilities. See id. at 2 & n.3 (Compl. ¶ 3)

(citing Dep’t of Homeland Sec., Off. of Inspector Gen., DHS Needs to Address Dangerous

Overcrowding and Prolonged Detention of Children and Adults in the Rio Grande Valley (July

2, 2019), https://www.oig.dhs.gov/sites/default/files/assets/2019-07/OIG-19-51-Jul19_.pdf); id.

at 3 n.5 (Compl. ¶ 3) (citing Dep’t of Homeland Sec., Off. of Inspector Gen., Concerns about

ICE Detainee Treatment and Care at Four Detention Facilities (Jun. 3, 2019),

https://www.oig.dhs.gov/sites/default/files/assets/2019-06/OIG-19-47-Jun19.pdf). Although

these reports did not address the COVID-19 pandemic, the ACLU contends that by citing the

reports, it put the Privacy Office on unmistakable notice that OIG’s mandate includes



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investigations regarding overcrowding and health concerns in detention facilities. Dkt. 40-2 at

20–21.

         After DHS answered the complaint, Dkt. 11, the Court directed the parties to file a joint

status report and set an initial scheduling conference, Min. Order (Dec. 22, 2020). In the joint

status report, DHS acknowledged that the ACLU had indicated that the records it “expect[ed]

DHS to have” included “Inspector General reports.” Dkt. 12 at 3; see also id. at 4 (ACLU noting

that its complaint cited to an OIG report). Then, at the scheduling conference, the parties

discussed the June 2020 OIG report, see Dkt. 14 at 4, 7–9 (Jan. 20, 2021 Hearing Tr. at 4:17–18,

7:11–9:23), and “the possibility that there could be any documents relating to the IG report

within, for example, the secretary’s office or” elsewhere at DHS, id. at 20 (Jan. 20, 2021 Hearing

Tr. at 20:8–12). But DHS explained that “DHS headquarters has [had] no contact with the IG

regarding its reports” and took the position that a “wall” separates OIG from the remainder of

DHS, precluding DHS from “speak[ing] to the equities of the IG reports.” Id. at 7 (Jan. 20, 2021

Hearing Tr. 7:11–24).

         In response, the Court noted that OIG is part of DHS and asked, “so why wouldn’t a

request directed at DHS include material held by the inspector general?” Id. at 7–8 (Jan. 20,

2021 Hearing Tr. 7:25–8:3). The Court added: “[M]y question is why then shouldn’t a request

that is directed at DHS include the inspector general’s office[?] . . . [I]s [there] something in the

regulations that say[s] you have to specify the particular office or component within DHS, and

therefore you don’t read their request as reaching the inspector general?” Id. at 8 (Jan. 20, 2021

Hearing Tr. 8:8–17). Counsel for DHS, in turn, promised to “find out the answer to that”

question, but emphasized “that DHS was very clear that they cannot control the disposition of the

IG reports.” Id. (Jan. 20, 2021 Hearing Tr. 8:18–22). At the conclusion of the hearing, the Court



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ordered the parties to meet and confer regarding the search terms and offices within DHS that

may have responsive documents. Id. at 21 (Jan. 20, 2021 Hearing Tr. 21:14–19).

       The ACLU subsequently sent DHS a list of proposed search terms, as well as a list of

proposed custodians at ICE and DHS. See Dkt. 40-10 (Pl.’s Ex. 6). That list included the

“Office of the Inspector General.” Id. at 5. Then, sometime between January 27, 2021 and

March 1, 2021, DHS began searching its files for responsive records. See Dkt. 13 (Mar. 1, 2021

Joint Status Report) (“In accordance with the Court’s January 22, 2021 Minute Order, defendant

ICE processed the 403 pages of documents yielded by its initial search.”); Dkt. 40-1 at 4–5 (Pl.’s

SUMF ¶ 16) (“Defendants first began to search DHS records sometime between January 27,

2021 and March 1, 2021.”); Dkt. 14 at 13 (Jan. 22, 2021 Hearing Tr. at 13:17–19) (proposing

that DHS “immediately discuss with the plaintiffs what offices they would like DHS to search,

and that we begin those searches”).2 In October 2021, the parties negotiated over the scope of

DHS’s search, and, on October 22, 2021, the ACLU offered to narrow the ICE search to three

custodians and to narrow the DHS search to four custodians, including OIG. Dkt. 40-11 at 3

(Pl.’s Ex. 7). In response, DHS wrote: “since OIG is an independent office within DHS . . . DHS

is not permitted to search OIG’s records and plaintiffs must instead file a separate FOIA request

with OIG.” Id. at 2.

       Then, on March 15, 2022, the ACLU filed a motion to compel DHS to include OIG in its

search. Dkt. 30 at 1. The Court construed the motion as a partial motion for summary judgment

and denied the motion without prejudice as premature. Min. Order (Mar. 16, 2022). After a pre-



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  This search is separate from ICE’s earlier search for responsive records, which located 403
pages of documents. Dkt. 13 at 1.




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motion conference, Min. Entry (Apr. 21, 2022), the ACLU moved for partial summary judgment,

seeking a court order requiring DHS to search OIG records, Dkt. 40, and DHS cross-moved on

the same question, Dkt. 41. At this time, according to DHS, it “has completed the production for

all FOIA requests made to DHS subject to this litigation, except that the parties dispute whether

or not plaintiff’s FOIA request properly sought documents from the DHS Office of the Inspector

General.” Dkt. 53 at 1 (Jan. 25, 2023 Joint Status Report). The parties’ cross-motions for partial

summary judgment are fully briefed and ripe for this Court’s decision.

                                     II. LEGAL STANDARD

        FOIA cases are typically resolved on motions for summary judgment under Federal Rule

of Civil Procedure 56. See, e.g., Shapiro v. U.S. Dep’t of Just., 153 F. Supp. 3d 253, 268

(D.D.C. 2016). To prevail on a summary judgment motion, the moving party must demonstrate

that there are no genuine issues of material fact and that he or she is entitled to judgment as a

matter of law. Fed. R. Civ. P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). In a

FOIA action, “the Court may award summary judgment to an agency solely on the basis of

information provided in affidavits or declarations that describe ‘ . . . the justifications for

nondisclosure [of records] with reasonably specific detail . . . and are not controverted by either

contrary evidence in the record nor by evidence of agency bad faith.’” Thomas v. FCC, 534

F. Supp. 2d 144, 145 (D.D.C. 2008) (alterations in original) (quoting Mil. Audit Project v. Casey,

656 F.2d 724, 738 (D.C. Cir. 1981)). The Court reviews the agency’s decision de novo, and the

agency bears the burden of sustaining its action. 5 U.S.C. § 552(a)(4)(B).

                                          III. ANALYSIS

        Before turning to the substance of the parties’ cross-motions for summary judgment, the

Court pauses to consider what is not in dispute. As discussed above, DHS initially resisted the



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ACLU’s request that the agency’s search include records maintained by OIG on the ground that

inspectors general are unique officers who are often insulated from oversight by the agencies in

which they are housed. Dkt. 40-11 at 2 (Pl.’s Ex. 7). In the words of DHS counsel, “DHS

headquarters ha[d] no contact with the IG regarding [the] reports” and related material that the

ACLU seeks here, Dkt. 14 at 7 (Jan. 22, 2021 Hearing Tr. at 7:14–15), and, indeed, the DHS

team was “very clear that they cannot control the disposition of the IG reports,” id. at 8 (Jan. 22,

2021 Hearing Tr. at 8:20–21). Since that time, however, DHS has clarified that “OIG is not

excepted from the requirement that the DHS Privacy Office must forward FOIA requests to the

appropriate component” for processing. Dkt. 34 at 6; see also Dkt. 41-1 at 16.

       As a result, the parties now agree that the only question presented is whether the Privacy

Office should have forwarded the ACLU’s FOIA request to OIG for processing. Their

disagreement on that question implicates both questions of law and fact.

                                                 A.

       The Court starts with the law. As DHS points out, the agency’s FOIA regulations

provide as follows:

       DHS has a decentralized system for responding to FOIA requests, with each
       component designating a FOIA office to process records from that component.
       All components have the capability to receive requests electronically, either
       through email or a web portal. To make a request for DHS records, a requester
       should write directly to the FOIA office of the component that maintains the
       records being sought. A request will receive the quickest possible response if it
       is addressed to the FOIA office of the component that maintains the records
       sought. . . . Each component’s FOIA office and any additional requirements for
       submitting a request to a given component are listed in appendix A to this part.
       These references can all be used by requesters to determine where to send their
       requests within DHS.

6 C.F.R. § 5.3(a)(1). Appendix A, then, includes, among entries for an array of DHS

components, the following:



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       Office of Inspector General

       All requests should be mailed to the OIG Office of Counsel, 245 Murray Lane
       SW, Mail Stop—0305, Washington, DC 20528-0305, or submitted
       electronically through https://foiarequest.dhs.gov/. To respond to your FOIA or
       Privacy Act request as quickly as possible, we strongly encourage you to submit
       your request electronically. Additional contact information for questions:
       Phone: 202-981-6100, Fax: 202-245-5217, or Email: foia.oig@oig.dhs.gov.

87 Fed. Reg. 68599-01, 68608 (Nov. 16, 2022).

       If the governing regulations and guidance stopped here, one might reasonably argue that

DHS’s “decentralized system for responding to FOIA requests,” 6 C.F.R. § 5.3(a)(1), requires a

specific request directed to each specific DHS component or office that the requesters wants the

agency to search. But, as DHS acknowledges, the very next paragraph of the regulations puts

any such contention to rest. The paragraph provides:

       A requester may also send his request to the Privacy Office, U.S. Department of
       Homeland Security, 245 Murray Lane SW STOP-0655, or via the internet at
       http://www.dhs.gov/dhs-foia-request-submission-form, or via fax to (202) 343-
       4011. The Privacy Office will forward the request to the component(s) that it
       determines to be most likely to maintain the records that are sought.

Id. § 5.3(a)(2). In other words, a FOIA requester has the option of either submitting its request

to the “the component that maintains the records being sought,” which carries the benefit of

receiving “the quickest possible response” to the request, id. § 5.3(a)(1), or submitting it to the

Privacy Office, which “will forward the request to the component(s) that [the Privacy Office]

determines to be most likely to maintain the records,” id. § 5.3(a)(2).

       According to DHS, by opting for the second alternative, the ACLU left it to the Privacy

Office to determine which DHS offices or components were, in its view, “most likely to maintain

the records that” the ACLU sought. Dkt. 41-1 at 7 (emphasis omitted) (quoting 6 C.F.R.

§ 5.3(a)(2)). DHS further maintains or at least suggests that that determination is one that is

static in time—it applies only at the moment in time when the Privacy Office decides where to

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direct the FOIA request—and it does not require the Privacy Office “to look beyond the four

corners of the request for leads to the location of responsive documents.” Id. at 3 (quoting

Kowalczyk v. Dep’t of Just., 73 F.3d 386, 389 (D.C. Cir. 1996)). To read the regulation

otherwise, DHS adds, would “transform the DHS Privacy Office into a central clearinghouse,

compelled to divine the hidden intent of all FOIA requests, [which] would . . . impose an

unreasonable burden on that Office.” Id. at 21.

       For several reasons, the Court declines to read 6 C.F.R. § 5.3(a)(2) in this grudging

manner. First, the structure of the regulations makes clear that a requester has two options. If it

submits its request directly to the component that maintains the records at issue, the requester

“will receive the quickest possible response.” 6 C.F.R. § 5.3(a)(1). But the alternative path,

even if slower, does not limit DHS’s obligation to conduct an adequate search for records.

Notably, section 5.3(a)(2) recognizes that, at times, more than one component will be “likely to

maintain the records” at issue, so it refers to “the component(s)”—rather than to a singular

“component”—that are “most likely” to maintain responsive records. Id. § 5.3(a)(2).

Understood in this light, moreover, the phrase “most likely” cannot reasonably be construed to

require a ranking of components “likely” to maintain records and to permit the Privacy Office to

ignore components that are “likely” to maintain responsive records, so long as another

component is even more “likely” to have responsive material.

       The standard, accordingly, does not differ in material respects from the standard that

governs all FOIA requests: The agency must make “a good faith effort to conduct a search for

the requested records, using methods which can be reasonably expected to produce the

information requested.” Oglesby v. Dep’t of the Army, 920 F.2d 57, 68 (D.C. Cir. 1990). As

section 5.3(a)(2) recognizes, an “agency cannot limit its search to only one record system if there



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are others that are likely to turn up information requested.” Id. But the agency need not search

record systems that are unlikely to yield results.

       Second, regardless of the precise meaning of section 5.3(a)(2), in this case DHS

represented that the Privacy Office—not ICE—would “respond to [the] request on behalf of

DHS and its components.” Dkt. 40-6 at 4 (Pl.’s Ex. 2) (emphasis added). All agree that OIG is a

“component” of DHS, and thus, regardless of how one might construe section 5.3(a)(2), the

Privacy Office undertook to respond on behalf of OIG, at least to the extent OIG has “responsive

records,” id. at 5 (Pl.’s Ex. 2). The ACLU was entitled to rely on that representation.

       Third, if at any point the Privacy Office were to conclude that that the FOIA request was

misdirected and that it should have been sent to OIG, the DHS FOIA regulations speak to those

circumstances as well. Pursuant to section 5.4(c), if “a component’s FOIA office”—here, the

Privacy Office—“determines that a request was misdirected within DHS, the receiving

component’s FOIA office shall route the request to the FOIA office of the proper component(s).”

6 C.F.R. § 5.4(c). In other words, if the ACLU (or if DHS) “misdirected” the FOIA request to

the Privacy Office, the Privacy Office is duty-bound to forward the request to OIG. Either way,

the agency cannot ignore the request.3

       Fourth, and relatedly, although the regulation provides that, “[t]he Privacy Office will

forward the request to the component(s) that it determines to be most likely to maintain the

records that are sought,” id. § 5.3(a)(2), there is no indication that the Privacy Office must make



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 Similarly, “[w]hen a component determines that it maintains responsive records that either
originated with another component or agency, or which contains information provided by, or of
substantial interest to, another component or agency, then,” the component must either consult
with the other component before responding to the request or may refer the request to the second
component. 6 C.F.R. § 5.4(d). The regulations therefore contemplate that requests may travel
between components as more information becomes available.

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that determination once and for all time when it makes its initial referral. See Protect the Pub.’s

Tr. v. U.S. Dep’t of Homeland Sec., 22-cv-138, 2022 WL 3226275, at *4 (D.D.C. Aug. 10, 2022)

(explaining that § 5.4(c) “suggests that requests may not always come directly from the

requester, and it implies that this is no reason to refuse compliance with the request

altogether. In the circumstance where CRCL knew that the Privacy Office was an additional

intended addressee, for example, one would assume that it would have a duty to forward the

request on.”). Had DHS intended to limited section 5.3(a)(2) in this manner, it could easily have

done so.

       Fifth, decisions from this Court and from other courts have recognized that DHS FOIA

requesters need not submit their requests directly to the specific component and, instead, may

submit them to the Privacy Office. See, e.g., id. (Section 5.3(a)(1)) “encourages—but does not

require—people to send their request to the correct office, and it contemplates that some will not

do so. Those requesters will get a slower response, but the regulations do not state that they

should receive no response at all.”); ACLU v. U.S. Dep’t of Homeland Sec., No. 20-cv-10083,

2021 WL 5449733, at *2 (S.D.N.Y. Nov. 19, 2021) (“DHS’s implementing regulations

concerning FOIA provide that DHS will forward FOIA requests to DHS component offices that

are likely to have responsive records. The regulations make no exception for the Secret Service

and the Coast Guard, and DHS has offered no justification for this Court to ignore the applicable

DHS regulation.” (internal citation omitted)); Laws.’ Comm. for Civ. Rts. Under Law v. U.S.

Dep’t of Just., No. 18-cv-167, 2020 WL 7319365, at *18 (D.D.C. Oct. 16, 2020) (“[F]our

individuals that the Lawyer’s Committee identified as likely to have responsive records were

employed in components other than Headquarters,” but “the Privacy Office failed to forward the




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request to those components or any others likely to have responsive documents, as required by

governing regulations.”).

       Finally, DHS’s concern that the Privacy Office may become overburdened as the

“clearinghouse” for DHS FOIA requests is both overstated and, in event, an ill that DHS can

remedy by amending its own regulations. Under existing DHS policy, the Privacy Office is

designated as the recipient of all FOIA requests submitted to the Headquarter Offices, including

(among others) the offices of the Secretary; Deputy Secretary; General Counsel; Executive

Secretariat; Intelligence and Analysis; Legislative Affairs; Public Affairs; and Strategy, Policy,

and Plans. Dkt. 41-2 at 12 (Pavlik-Keenan Decl. ¶ 25); 87 Fed. Reg. 68599-01, 68608 (Nov. 16,

2022). In other words, by DHS’s own design, the Privacy Office is already front and center in

processing FOIA requests. It seems unlikely that reading section 5.3(a)(2) to require the Privacy

Office to ensure that the proper components receive other FOIA requests would overwhelm the

office. But, in any event, this assignment of responsibility is a matter of DHS’s own choice. It is

free to amend section 5.3(a)(2) as it sees fit. Unless and until it does so, however, the Court must

apply the regulation as written, and fairly construed, it requires the Privacy Office to ensure that

the component—or components—that are “most likely” to have responsive records receive the

request.

       The Court, accordingly, concludes that DHS’s responsibility to conduct an adequate

search for responsive records was not curtailed simply because the ACLU submitted its FOIA

request to the Privacy Office and did not send it to each component that the ACLU believed has

responsive records. And it further concludes that DHS’s responsibility is not limited to the

moment in which the Privacy Office first forwards the request. The Court, accordingly, turns to

the factual question of whether an adequate search for responsive records must include OIG.



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                                                  B.

        “An agency has an obligation under FOIA to conduct an adequate search for responsive

records.” Ewell v. U.S. Dep’t of Just., 153 F. Supp. 3d 294, 301 (D.D.C. 2016). The adequacy

of an agency’s FOIA search “is judged by a standard of reasonableness,” Weisberg v. U.S. Dep’t

of Just., 745 F.2d 1476, 1485 (D.C. Cir. 1984), and “[a]n agency fulfills its obligations . . . if it

can demonstrate beyond material doubt that its search was ‘reasonably calculated to uncover all

relevant documents,’” Valencia-Lucena v. U.S. Coast Guard, 180 F.3d 321, 325 (D.C. Cir. 1999)

(quoting Truitt v. Dep’t of State, 897 F.2d 540, 542 (D.C. Cir. 1990)). “In order to obtain

summary judgment[,] the agency must show that it made a good faith effort to conduct a search

for the requested records, using methods which can be reasonably expected to produce the

information requested.” Oglesby, 920 F.2d at 68. The agency can show that it conducted an

adequate search by relying on “[a] reasonably detailed affidavit [or declaration], setting forth the

search terms and the type of search performed, and averring that all files likely to contain

responsive materials (if such records exist) were searched.” Id. And “[a]lthough a requester

must reasonably describe the records sought, an agency also has a duty to construe a FOIA

request liberally.” Nation Mag., Wash. Bureau v. U.S. Customs Serv., 71 F.3d 885, 890 (D.C.

Cir. 1995) (cleaned up).

        As DHS acknowledges, Dkt. 41-1 at 7–9, the Court must therefore evaluate the Privacy

Office’s decision to forward the ACLU’s request to ICE alone for reasonableness, see Mobley v.

CIA, 806 F.3d 568, 580 (D.C. Cir. 2015) (“This court applies a reasonableness standard to

determine whether an agency performed an adequate search.”); Campbell v. U.S. Dep’t of Just.,

164 F.3d 20, 27 (D.C. Cir. 1998). Whether the Court considers the Privacy Office’s decision

through the lens of when the Privacy Office first received the request, Dkt. 41-1 at 7–9, when it



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commenced the search for responsive records, Dkt. 13 at 1, or at the time the agency concluded

its search, see Campbell, 164 F.3d at 28, the Court is persuaded that DHS had reason to believe

that a search of OIG’s files would “likely . . . turn up the information requested,” Oglesby, 920

F.2d at 68.

       At the time the ACLU submitted its FOIA request, OIG was already investigating “Early

Experiences with COVID-19 at ICE Detention Facilities.” Dkt. 40-12 at 4 (Pl.’s Ex. 8). That

study spanned the period from April 8 to April 20, 2020, id., before the ACLU submitted its

FOIA request on May 22, 2020, Dkt. 40-1 at 2 (Pl.’s SUMF ¶ 1). Moreover, even if the Privacy

Office was unaware that this particular study was underway,4 and even if DHS is not reasonably

charged with the knowledge of all of its components (including OIG), DHS nonetheless had

good reason to believe that OIG would have responsive records. As noted above, among other

records, the ACLU requested “[a]ll communications and documents regarding COVID-19-

related grievances or complaints, including, but not limited to, those discussing access to

hygiene, protective equipment, social distancing or lack thereof, or other risks of exposure to

COVID-19 within immigration detention facilities.” Dkt. 40-5 at 6 (Pl.’s Ex. 1) (emphasis

added). And, as the Privacy Office was surely aware, OIG is responsible for conducting internal

DHS investigations, see 5 U.S.C. app. 3 § 8I(c) (“[T]he Inspector General of the Department of

Homeland Security may initiate, conduct, and supervise such audits and investigations in the

Department of Homeland Security as the Inspector General considers appropriate.”), including

investigations triggered by “complaints and information from any source alleging abuses of civil




4
  Notably, DHS submitted two declarations from Catrina Pavlik-Keenan, the Deputy Chief FOIA
Officer in the Privacy Office, and in neither did she disclaim knowing that the OIG report was in
the works. See Dkt. 41-2 (Pavlik-Keenan Decl.); Dkt. 46-1 (Pavlik-Keenan Supp. Decl.).

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rights and civil liberties by employees or officials of the Department and employees or officials

of independent contractors or grantees of the Department,” id. § 8I(f)(2)(B)–(C).

       Even prior to the COVID-19 pandemic, moreover, OIG conducted investigations—and

published reports—relating to overcrowding and “unsafe and unhealthy conditions” at detention

centers. See Dkt. 1 at 2–3 (Compl. ¶ 3 & nn. 3 & 5) (internal quotation marks omitted) (citing

reports). Given the significance of the COVID-19 pandemic and the risks it posed to detainees

and ICE employees, it should have come as no surprise that OIG was investigating complaints

involving “access to hygiene, protective equipment, social distancing or lack thereof, or other

risks of exposure to COVID-19 within immigration detention facilities.” Dkt. 40-5 at 6 (Pl.’s

Ex. 1). Beyond that, the Privacy Office was also on reasonable notice that OIG had been

assigned to the Pandemic Response Accountability Committee “to promote transparency and

conduct and support oversight of covered funds and the Coronavirus response.” 5 U.S.C. app. 3

note § 11(b)–(c) (2022) (Pandemic Response Accountability Committee). In short, “[g]iven . . .

the fact that the OIG’s mission” includes the investigation of complaints relating to safety and

health within detention facilities, and given that it was assigned specific duties relating to the

pandemic, “it would strain credulity to find that the” Privacy Office was unaware—or had no

reason to believe—that OIG was a “likely repositor[y] of responsive records.” Defs. of Wildlife

v. U.S. Dep’t of Interior, 314 F. Supp. 2d 1, 13 (D.D.C. 2004).

       DHS responds that complaints from individuals in custody “would normally be made

either to ICE directly, or to the contractor operating the facility in question, both of which would

be responsible for handling them” and that “a grievance or complaint at the facility level does not

automatically result in an investigation by other DHS entities.” Dkt. 41-1 at 10 (emphasis

added). But that does little to justify DHS’s limited search. The Court does not doubt that many



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complaints and grievances are dealt with at the facility level. An adequate FOIA search,

however, requires the agency to search more than one record system, if “there are others that are

likely to turn up the information requested,” Ogelsby, 920 F.2d at 68, and, here, DHS offers no

reason to believe that none of the grievances and complaints at issue—including those involving

the health and safety of thousands of individuals held in ICE detention facilities—made their

way to OIG. “At the very least, [DHS] was required to explain in its affidavit that no other

record system was likely to produce responsive documents.” Id.

       The common-sense inference that OIG would have responsive records, moreover, finds

support in records that ICE has released to the ACLU. In particular, the ACLU points to three

form letters sent from the DHS Office of Civil Rights and Civil Liberties, confirming that “when

. . . DHS received complaints from detainees related to COVID-19, [its] practice was to ‘send

[those] complaint[s] to the DHS Office of the Inspector General (OIG) for review.’” Dkt. 40-2 at

24 (third and fourth alterations in original) (quoting Pl.’s Ex. 12 at 2, 4, 6) (sample DHS

complaint form letter). DHS fails to explain how the Office of Civil Rights and Civil Liberties

knew to send these COVID-19-related complaints to OIG, while the Privacy Office had no

reason to believe that OIG would likely possess responsive records.

       The ACLU also requested “[a]ll communications and documents regarding

Congressional or state-based inquiries into COVID-19-related issues within immigration

detention facilities.” Dkt. 40-5 at 7 (Pl.’s Ex. 1). And by the time the ACLU submitted its

request, at least one member of Congress had already requested that OIG investigate DHS’s

response to COVID-19 in detention facilities. See Dkt. 40-13 (Pl.’s Ex. 9) (April 13, 2020 Letter

from Congresswoman Pramila Jayapal). DHS located a copy of that letter in the search it

conducted, which did not include OIG, and it seems almost certain that a copy of that letter—and



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any related correspondence—can be found in OIG’s files. If not on day-one, the Privacy Office

was certainly aware of the letter by the time it located the congressional inquiry in its search of

other files. DHS’s response regarding this part of the ACLU’s FOIA request is also

unconvincing: It merely posits that the “Privacy Office reasonably interpreted this portion of the

request as being limited to Congressional or state-based entities, and not extending to any other

oversight bodies.” Dkt. 41-1 at 9. But that interpretation is unreasonable, because it ignores the

evidence that OIG received the type of congressional inquiry that DHS concedes falls with the

scope of the FOIA request.

        DHS also argues that “at the time of the request, ICE was the only entity responsible for

assessing and addressing the risks of COVID-19 in immigration detention facilities.” Dkt. 41-1

at 8–9. In support of this proposition, DHS relies on the declaration of Deputy Chief FOIA

Officer Catrina Pavlik-Keenan, who attests that “[t]he management of detention facilities,

deportation of detainees, and care and treatment of detainees while in other than temporary

custody are exclusively the responsibilities of ICE and do not involve other DHS components,”

Dkt. 41-2 at 7 (Pavlik-Keenan Decl. ¶ 13), and that “ICE was the only entity responsible for

assessing and addressing the risks of COVID-19 in immigration detention facilities,” id. at 8

(Pavlik-Keenan Decl. ¶ 14). That is a non sequitur. ICE indisputably had frontline

responsibility for managing its detention facilities. But OIG, indisputably, had responsibility for

conducting all investigations that the Inspector General considered appropriate, 5 U.S.C. app. 3

§ 8I(c), and it had a history of investigating allegations of overcrowding and health risks at ICE

detention facilities.

        Although the Court is persuaded that, from the outset, the Privacy Office had good reason

to request that OIG perform a search for potentially responsive records, by the time DHS (as



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opposed to ICE) commenced its search in early 2021, there was little doubt that DHS would find

potentially responsive records in OIG’s files. DHS did not begin its search until January 27,

2021 at the earliest. Dkt. 40-1 at 5–6 (Pl.’s SUMF at ¶ 16). Before then, DHS had received at

least the following leads pointing to OIG as a likely source of records: (1) in the parties’ January

15, 2021 Joint Status Report, DHS had acknowledged that the ACLU had informed the Privacy

Office that “Inspector General reports” were among the “records it expects DHS to have,” Dkt.

12 at 3; (2) at the January 22, 2021 Initial Scheduling Conference, the parties had discussed at

length that same report, which the Court described as a “very responsive document,” Dkt. 14 at 7

(Jan. 22, 2021 ISC Tr. at 7:3–8); (3) the OIG’s report on “Early Experiences with COVID-19 at

ICE Detention Facilities” had been released months earlier, Dkt 40-12 at 2 (Pl.’s Ex. 8); (4) on

January 27, 2021, the ACLU had sent a list of requested custodians to DHS, and that list

included the “Office of the Inspector General,” Dkt. 40-10 at 5 (Pl.’s Ex. 6); (5) as noted above,

ICE had located records of complaints related to the handling of the pandemic at ICE detention

facilities that were directed at OIG, Dkt. 40-13 (Pl.’s Ex. 9); and (6) ICE had produced an email

captioned “EL VALLE—OIG review 20-051 (COVID in detention facilities)—Unannounced

Virtual Inspection” that referred to “OIG’s planned virtual inspection of the El Valle Detention

Facility for Audit OIG-20-051 (COVID-19),” Dkt. 40-14 at 2 (Pl.’s Ex. 10).

       DHS does not dispute, nor could it dispute, that under controlling FOIA precedent an

agency must follow clear leads that develop over the course of its search. See Mobley, 806 F.3d

at 582 (“[A]n agency may not ignore a request to search specific record systems when a request

reaches the agency before it has completed its search . . . .”); Campbell, 164 F.3d at 28 (“An

agency has discretion to conduct a standard search in response to a general request, but it must

revise its assessment of what is ‘reasonable’ in a particular case to account for leads that emerge



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during its inquiry.”); Coleman v. Drug Enf’t Admin., 134 F. Supp. 3d 294, 302 (D.D.C. 2015).

Or, put differently, the reasonableness of a search must be assessed based on the information the

agency has at the conclusion, not the beginning, of its search. See Campbell, 164 F.3d at 28

(“Consequently, the court evaluates the reasonableness of an agency’s search based on what the

agency knew at its conclusion rather than what the agency speculated at its inception.”); Sai v.

Transp. Sec. Admin., 466 F. Supp. 3d 35, 51–52 (D.D.C. 2020); Am. Oversight v. U.S. Gen.

Servs. Admin., No. 18-cv-2419, 2020 WL 1911559, at *6 (D.D.C. Apr. 20, 2020). Because DHS

was unquestionably on notice that OIG likely possessed responsive materials before DHS even

started, much less completed, its search, it was required to search OIG’s records.

       In support of the notion that the Privacy Office was not required to consider information

gained after the ACLU submitted its request, DHS invokes Kowalczyk v. Department of Justice,

73 F.3d 386 (D.C. Cir. 1996). Dkt. 41-1 at 18–21. There, the plaintiff had sent a FOIA request

to the FBI headquarters in Washington, D.C. for records related to his federal criminal case.

Kowalczyk, 73 F.3d at 387–88. The FBI searched its Washington headquarters for responsive

records. Id. at 388. Four months after the search, the plaintiff sent a letter to the FBI, which

suggested that the FBI should also have searched the New York field office for potentially

responsive records. Id. In addressing whether to consider that letter, the D.C. Circuit concluded

that “[a] reasonable effort to satisfy [a FOIA] request does not entail an obligation to search

anew based upon a subsequent clarification,” because “[r]equiring an additional search each time

the agency receives a letter that clarifies a prior request could extend indefinitely the delay in

processing new requests.” Id. Applying this principle, the D.C. Circuit concluded that the

plaintiff’s initial request “did not enable the FBI to determine that the New York field office had

responsive records.” Id. at 389. The court explained that “the Bureau is not obliged to look



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beyond the four corners of the request for leads to the location of responsive documents.” Id.

The court then concluded:

       If the agency may reasonably interpret the request to be for records in a specific
       office or offices only—the office to which the request was sent or any office(s)
       named in the request—then upon discovering that it has other responsive records
       elsewhere, it may reasonably infer that the requester already has those records,
       is seeking them through a separate request, or, for whatever reason, does not
       want them. If, on the other hand, the requester clearly states that he wants all
       agency records on a subject, i.e., regardless of their location, but fails to direct
       the agency’s attention to any particular office other than the one receiving the
       request, then the agency need pursue only a lead it cannot in good faith ignore,
       i.e., a lead that is both clear and certain.

Id.

       Kowalczyk is inapposite for at least three reasons. First, in that case, the plaintiff sent his

clarifying letter after the FBI already completed its search. Id. at 388. Here, by contrast, the

ACLU informed DHS that OIG is a likely source of responsive records on numerous occasions

before DHS commenced its search. Dkt. 12 at 3; see also id. at 4 (ACLU noting that its

complaint cited to OIG reports). The concern identified by the D.C. Circuit then—that plaintiffs

would indefinitely extend their FOIA requests by sending clarification letters—is not present

here. Second, unlike in Kowalczyk, DHS’s initial belief that the ACLU’s FOIA request did not

encompass OIG records was baseless. See supra at 15–18. And third, unlike in Kowalczyk, the

ACLU did not limit its FOIA request to a particular office—even by implication. To the

contrary, as the Privacy Office recognized, the ACLU sent a separate request to ICE and

intended the request that it sent to the Privacy Office to encompass any other DHS component

likely to have responsive records.5



5
 Amiri v. National Science Foundation, No. 21-5241, 2022 WL 1279740 (D.C. Cir. Apr. 28,
2022) (per curiam), is similarly distinguishable. There, the court concluded that National
Science Foundation Office of Inspector General was not required to respond to the FOIA request


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       DHS’s reliance on a footnote in Stein v. CIA, 454 F. Supp. 3d 1 (D.D.C. 2020), is also

misplaced. In Stein, the plaintiff sent a copy of his FOIA request to the Department of Justice’s

(“DOJ’s”) Mail Referral Unit (“MRU”), “a part of DOJ’s Justice Management Division that

accepts FOIA requests from requesters who are unsure which DOJ component may possess the

records they seek.” Id. at 11. The plaintiff challenged “perceived inadequacies at the referral

stage, arguing that the agency did not present ‘any evidence’ supporting the MRU’s

determination that [the Office of Information Policy] and FBI were the only DOJ components

likely to possess records responsive” to his request. Id. at 25 (emphasis in original). The court

agreed, holding that DOJ’s declaration failed reasonably to explain MRU’s determination. Id.

In a footnote, however, the court rejected the plaintiff’s argument that “MRU’s finding that ‘OIP

was one of the components most likely to have’ responsive records was inadequate to justify

referring the request only to OIP.” Id. at 25 n.9. The court concluded that the plaintiff was

“making a false equivalence between an agency’s referral of a FOIA request to a specific

component and a search of a records systems within an agency component,” and that, while the

D.C. Circuit had held that searching only a records system “most likely” to have responsive

materials is inadequate, it had not held that referring to only a component “most likely” to have

responsive materials is also inadequate. Id. (citing Mobley, 806 F.3d at 582). Here, in contrast,

the ACLU argues that DHS’s failure to include OIG in its list of components “most likely” to

have responsive records was unreasonable, and the Court agrees.



because the plaintiff “did not send his January 2020 FOIA request to the Office of Inspector
General, which handles FOIA requests separately,” and because the agency “had no obligation
‘to look beyond the four corners of the request.’” Id. at *1 (quoting Kowalczyk, 73 F.3d at 389).
There is no indication in Amiri, however, that the plaintiff clarified that OIG was a likely source
of records before the agency began its search. And, again, the four corners of the ACLU’s
request encompassed OIG records.

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       Much more on point are the sea of cases standing for the proposition that an agency must

follow leads that develop during its search. See, e.g., Negley v. FBI, 169 F. App’x 591, 595

(D.C. Cir. 2006) (“[A]n agency ‘must revise its assessment of what is reasonable in a particular

case to account for leads that emerge during its inquiry.’” (quoting Campbell, 164 F.3d at 28));

Valencia-Lucena, 180 F.3d at 325 (“[T]his court has required agencies to make more than

perfunctory searches and, indeed, to follow through on obvious leads to discover requested

documents.”); Coleman, 134 F. Supp. 3d at 302 (“[T]he court finds that the 1996 and 2004

Letters constituted the type of ‘clear lead’ that required the DEA to expand its initial search to

include the office of the Deputy Assistant Administrator.”); Rollins v. U.S. Dep’t of State, 70 F.

Supp. 3d 546, 550 (D.D.C. 2014) (explaining that agencies may not ignore “clear leads” that

indicate “other offices that should have been searched” (emphasis in original)); Neighborhood

Assistance Corp. of Am., v. U.S. Dep’t of Hous. & Urb. Dev., 19 F. Supp. 3d 1, 10 (D.D.C. 2013)

(“But even assuming this approach was proper initially, it does not follow that, during the course

of its review, HUD could then ignore indications that responsive documents were likely to be

located elsewhere.”).

                                             *    *   *

       At least in a case like this one, where DHS was on notice before it even commenced its

search—that is, it certainly should have known before starting its search—that responsive

records will almost certainly be found in OIG’s files, it must search those files. In other words,

without conducting such a search, DHS will be unable to carry its burden of demonstrating that it

conducted a search “reasonably calculated to uncover all relevant documents.” Truitt, 897 F.2d

at 542 (quoting Weisberg, 705 F.2d at 1351). Partial summary judgment is therefore warranted

in the ACLU’s favor. See New Orleans Workers’ Ctr. for Racial Just. v. U.S. Immigr. &



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Customs Enf’t, 373 F. Supp. 3d 16, 39 (D.D.C. 2019) (“[T]he plaintiffs have identified evidence

demonstrating that the defendant failed to search at least six of its offices likely to possess

responsive records,” and so the “search was unreasonable.”).

                                          CONCLUSION

       For the foregoing reasons, the ACLU’s motion for partial summary judgment, Dkt. 40, is

GRANTED; and DHS’s motion for partial summary judgment, Dkt. 41, is DENIED. The Court

hereby ORDERS that DHS include OIG in its search for responsive records.

       SO ORDERED.



                                                       /s/ Randolph D. Moss
                                                       RANDOLPH D. MOSS
                                                       United States District Judge


Date: March 31, 2023




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